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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MINNESOTA




RUDOLPH TECHNOLOGIES,                                Case No. 05-1396 (JRT/FLN)
INC.,

                Plaintiff,
                                             THIRD SUPPLEMENTAL DECLARATION OF
v.                                           FRANCES M. MCCLOSKEY


CAMTEK LTD.,

                Defendant.


       Pursuant to 28 U.S.C. § 1746, I, Frances M. McCloskey, CPA, CFF, MBA, declare as

follows:

       1.       I have been asked by counsel for plaintiff Rudolph Technologies, Inc.

(“Rudolph”) to supplement my previous calculations of interest to include post-judgment

interest. In addition, I have been asked to calculate post-judgment interest per diem rates.

       2.       Attached as Appendix A is a copy of my resume. My hourly rate for the calendar

year 2016 is $460.

       3.       The calculations contained herein are based upon: 1) the Court’s Judgment in a

Civil Case (Docket No. 1011) dated February 10, 2015; and 2) the Court’s Cost Judgment

(Docket No. 1053) dated April 29, 2015.

       4.       I have calculated post-judgment interest on all judgments using the Weekly

average 1-year constant maturity Treasury yield, as published by the Board of Governors of the




                                                 1
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                                                                                  APPENDIX A


FRANCES M. MCCLOSKEY, CPA, CFF, MBA
Frances McCloskey has more than 30 years of combined experience in accounting, finance, financial
consulting, and expert witness work. As a financial expert on damages, Fran provides assistance to
attorneys in a variety of litigation matters and disputes involving fraud, securities, employment,
intellectual property infringement (patents, trade secrets, trademarks, copyrights), and contracts.

EXPERIENCE
Financial Advisors LLC, Minneapolis, MN, August 1997 to Present
Coopers & Lybrand LLP, Minneapolis, MN, October 1989 to August 1997
General Mills, Inc., Minneapolis, MN, July 1984 to May 1988

EDUCATION
Middlebury College, B.A. (cum laude) Economics, May 1984
University of Minnesota, M.B.A. Marketing, March 1989

MEMBERSHIPS
Minnesota Society of Certified Public Accountants (MNCPA)
American Institute of Certified Public Accountants (AICPA)

PUBLICATIONS
Contributing author of Minnesota Business Disputes: Claims & Remedies, 2nd Edition, MSBA, 2015.
Contributing author of Damages for Theft of Trade Secrets, MSBA CLE, May 2003.
Contributing author of Damages in Intellectual Property Litigation, MSBA CLE, November 1999 and
June 2001.

PRESENTATIONS
August 26, 2015 – MSBA CLE, “A Case Study of Gender Issues in Intellectual Property
Disputes”
June 17, 2015 – MSBA CLE, “Business Disputes: Claims and Remedies”
August 21, 2014 – MSBA CLE, “Methodologies and Challenges in Calculating and Proving
Damages”
April 22, 2014 – MSBA CLE, “Remedies and Damages in Commercial Litigation”
June 12, 2007 – Thrivent Financial, “Financial Information & Investigation”
February 9, 2006 – FBA Intellectual Property Section, “Trademark Damages”
November 16, 2004 – MSBA CLE, “The Jury Gap.”
May 22, 2003 – MSBA CLE, “The Secrets to Winning Trade Secret Cases”
September 20, 2002 – MILE CLE, Economic Damages “Calculating Damages in Business Tort
Cases”
December 13, 2001 – MILE CLE, Financial Investigations and Forensic Accounting, “Forensic
Accounting and the Daubert/Kumho Tire Standard”
June 15, 2001 – MSBA CLE, “Introduction to Intellectual Property Litigation”
November 12, 1999 – MILE CLE, Financial Investigations and Forensic Accounting, “Proving Fraud
in Post Transaction Disputes”
November 3, 1999 – MSBA CLE, “Damages in Intellectual Property”
November 20, 1998 – MSBA CLE, “Recovery of Damages for Lost Profits”
February 13, 1998 – MSBA CLE, “Expert Witness: The Real Story”

                                                  3
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                           August Technology Corporation and Rudolph Technologies, Inc. v. Camtek Ltd.                                        Exhibit 1

                         Summary of Judgments, Prejudgment Interest and Post Judgment Interest
                                     Post Judgment Interest Through March 14, 2016



                                              Judgment              Prejudgment                           Post Judgment
                                              Amounts                 Interest             Subtotal          Interest3           Total
                                                               1                    1
    Original Jury Award                     $ 6,782,490.00         $ 6,693,113.42       $ 13,475,603.42   $     30,933.09   $ 13,506,536.51
                                                               1                    1
    Court's Supplemental Damages Award          645,946.00             390,749.76          1,036,695.76          2,379.70      1,039,075.46
    Subtotal                                $ 7,428,436.00         $ 7,083,863.18       $ 14,512,299.18   $     33,312.79   $ 14,545,611.97

                                                               2                    2
    Cost Judgment                           $      84,443.90       $          -         $    84,443.90    $       176.00    $    84,619.90
    Total Through March 14, 2016            $ 7,512,879.90         $ 7,083,863.18       $ 14,596,743.08   $    33,488.79    $ 14,630,231.87




1
    Judgment in a Civil Case (Docket No. 1011) dated February 10, 2015.
2
    Cost Judgment (Docket No. 1053) dated April 29, 2015.
3
    See Exhibit 2.
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                                   August Technology Corporation and Rudolph Technologies, Inc. v. Camtek Ltd.                                                Exhibit 2

                                                     Post Judgment Interest Calculations
                                Calculating Per Diem Rate and Post Judgment Interest Through March 14, 2016



                                                                                                             Court's
                                                                                                          Supplemental                                   Total
                                                                                    Original Jury           Damages                  Cost           Post Judgment
                                                                                       Award1                Award1                Judgment2           Interest

    Award & Prejudgment Interest                                                   $ 13,475,603.42       $ 1,036,695.76        $      84,443.90
    Post Judgment Interest Rate3                                                             0.21%                0.21%                   0.24%

    Full Year Post Judgment Interest through February 9, 20164                     $     28,298.77       $      2,177.06                    n/a

    Partial Year Post Judgment Interest through March 14, 20165                    $       2,634.32      $        202.64      $         176.00

    Post Judgment Interest through March 14, 2016                                  $     30,933.09       $      2,379.70      $         176.00      $      33,488.79


    Per Diem Post Judgment Interest Rate in 366 Day Year6                          $          77.48      $           5.96     $            0.55     $          83.99


1
    Judgment in a Civil Case (Docket No. 1011) dated February 10, 2015.
2
    Cost Judgment (Docket No. 1053) dated April 29, 2015.
3   Weekly average 1-year constant maturity Treasury yield, as published by the Board of Governors of the Federal Reserve System, for the calendar week
    preceding the date of judgment (see 28 U.S.C. 1961). Post Judgment interest is calculated on a compounded (annually) basis.
4   The per diem interest rate increases after one full year because interest is compounded annually. Therefore, after each full year, the interest amount is added to
    the principal amount when calculating interest forward. The Original Jury Award and Supplemental Damages Award Judgments were entered on February 10,
    2015 (one full year is through February 9, 2016). The Cost Judgment was entered on April 29, 2015 (one full year will be complete on April 28, 2016).
5   For the Original Jury Award and The Court's Supplemental Damages Award, the partial year period begins February 10, 2016. For the Cost Award, the partial
    year begins April 29, 2015.
6   The current year (2016) is a leap year, and has 366 days. Accordingly, the Per Diem Post Judgment Interest Rate is based on a 366 day year. The reported per
    diem amounts are effective through February 9, 2017 on the Original Jury Award and Supplemental Damages Award Judgments, and through April 28, 2016 on
    the Cost Judgment.
